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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 KIMBERLY PLETCHER, et al.,                      )
                                                 )   Case No. 2:20-cv-00754-NBF
          Consolidated Plaintiffs,               )
                                                 )
 v.                                              )
                                                 )
 GIANT EAGLE, INC., C&J GROCERY                  )
 CO., LLC, and MATT FACCENDA,                    )
                                                 )
          Defendants.                            )

      DEFENDANTS’ MOTION FOR SANCTIONS AGAINST GREGORY MANDICH
                 FOR FAILURE TO ATTEND HIS DEPOSITION

         Pursuant to Federal Rule of Civil Procedure 37, Defendants (collectively, “Giant Eagle”)

move for an order sanctioning Plaintiff Mandich for failing to appear a second time for his

scheduled deposition.     Giant Eagle states the following in support:

      1. On March 18, 2022, the Court ordered Mr. Mandich’s scheduled deposition to proceed on
         April 19, 2022. ECF 154 at 2.

      2. On April 19, 2022, less than five hours before the scheduled start time of 1:00 pm, Mr.
         Mandich “cancelled” his deposition because of purported “work issues.” 4/19/2022 Email
         (Ex. A).

      3. The court reporting service, Planet Depos, charged Giant Eagle a late fee because of the
         late cancellation, which Giant Eagle asked Mr. Mandich to pay. 4/22/2022-4/28/2022
         Email String (Ex. B). At Mr. Mandich’s counsel’s request, Giant Eagle asked Planet Depos
         to waive the late cancellation fees as a courtesy to Giant Eagle, given the significant fees
         Giant Eagle has paid in this case for depositions. Id. Planet Depos agreed, and Giant Eagle
         passed on the courtesy to Mr. Mandich. Id.

      4. Giant Eagle and Mr. Mandich rescheduled his deposition for May 26, 2020, at 1:00 pm.
         5/16/2022 Email (Ex. C). Giant Eagle’s counsel, the court reporter, videographer, and
         technician logged onto the Zoom platform for the deposition at its scheduled start time.
         About fifteen minutes after the deposition was scheduled to begin, Mr. Mandich’s counsel
         informed Giant Eagle that Mr. Mandich would not appear for his deposition because of
         “work.”

      5. Giant Eagle offered Mr. Mandich the opportunity to withdraw his claims to avoid facing a
         sanctions motion. 5/26/2022 Email (Ex. D). Mr. Mandich did not respond.
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          The Court previously ordered that any Plaintiffs who were unwilling to meet their

discovery obligations were required to dismiss their claims. See 3/3/2021 Order, ECF 69 at 2

(“[A]ny Plaintiffs who are unwilling to provide complete discovery pursuant to this order . . . will

enter into a stipulation dismissing their claims with prejudice.”). Nonetheless, Mr. Mandich has

now failed twice to appear for his deposition. Under Federal Rule of Civil Procedure 37, the Court

has wide latitude in imposing sanctions against a Party failing to attend his own deposition.

Fed.R.Civ.P. 37 (d)(3); see also Fed.R.Civ.P 37(b)(2) (sanctions for failure to obey a Court order).

In addition to these discretionary sanctions, when a Party fails to attend his own deposition, the

Court “must require the party failing to act, the attorney advising the party, or both, to pay the

reasonable expenses, including attorney’s fees, caused by the failure, unless the failure was

substantially justified or other circumstances make an award of expense unjust.” Fed.R.Civ.P. 37

(d)(3).

          Mr. Mandich has offered no reason substantially justifying his repeated failure to appear

for his own deposition or excusing his failure to obey the Court’s Orders. Accordingly, Giant

Eagle asks the Court to dismiss his claims and order Mr. Mandich to pay Giant Eagle’s reasonable

costs and fees in connection with his second deposition at which he did not appear. A proposed

Order is attached.

Dated: May 27, 2022                                          Respectfully submitted,


                                                             /s/ Jeremy D. Engle
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2022, a true and correct copy of the foregoing was

electronically filed and served via operation of the Court’s CM/ECF system, which will

automatically send e-mail notification of such filing to the attorneys of record entitled to notice

who are registered users of ECF.


                                                     /s/ Jeremy D. Engle
                                                     Jeremy D. Engle




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